

People v Guillen (2025 NY Slip Op 02161)





People v Guillen


2025 NY Slip Op 02161


Decided on April 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2025

Before: Webber, J.P., Friedman, Kapnick, Rodriguez, Rosado, JJ. 


Ind. No. 157/17|Appeal No. 4104|Case No. 2020-00647|

[*1]The People of the State of New York, Respondent,
vGustavo Guillen, Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Catherine Taylor Poor of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Cynthia A. Carlson of counsel), for respondent.



Judgment, Supreme Court, Bronx County (April Newbauer, J.), rendered November 4, 2019, convicting defendant, after a jury trial, of manslaughter in the first degree, and sentencing him to a term of 11 years, unanimously reversed, on the law, and the matter remanded for a new trial.
As conceded by the People, based on People v Castillo (42 NY3d 628 [2024]), in which the Court of Appeals reversed the codefendant's conviction because of the trial court's failure to instruct the jury on justification at the joint trial, defendant in this case is likewise entitled to a new trial.
The verdict was based on legally sufficient evidence and was not against the weight of the evidence (People v Danielson, 9 NY3d 342, 348-349 [2007]; see also People v Baque, 43 NY3d 26 [2024]). Defendant's claim that the prosecutor impaired the integrity of the second grand jury proceeding is unpreserved (see People v Brown, 81 NY2d 798, 799 [1993]), and we decline to review it in the interest of justice. As an alternative holding, we reject defendant's claim regarding the grand jury proceeding on the merits (see People v Pelchat, 62 NY2d 97, 107 [1984]; People v Davis, 91 AD3d 567, 568 [1st Dept 2012], lv denied 19 NY3d 863 [2012]).
Given the above, we need not address defendant's remaining arguments.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2025








